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                                                      January 20, 2020
ByECF                     Application Granted. The final pretrial conference originally scheduled for
Hon. P. Kevin Castel      January 27, 2021 is adjourned to February 12, 2021 at 12:00 p.m. Time is
U.S. District Judge       excluded under the speedy trial act until 2/12/21 for the reasons set forth
U.S. Courthouse           in defense letter dated January 20, 2021.
500 Pearl Street          SO ORDERED.
New York, NY 10007        Dated: 1/22/2021

               Re:     United States v. Geovanny Fuentes Ramirez
                              S6 15 Cr. 379 (PKC)


Dear Judge Castel:


               This letter is respectfully submitted on behalf of the defendant, Geovanny Fuentes
Ramirez, to request a short extension of the deadline for responding to the Government's motion
in limine. The current deadline for the defendant's response is January 22, 2021. The additional
time is needed so that counsel can consult with the defendant about the defense response to the
Government's motion. Counsel was scheduled to meet with Mr. Fuentes Ramirez on Thursday,
January 21, but that meeting was cancelled because of the recently imposed lockdown at the
MCC. I am scheduled to speak with Mr. Fuentes Ramirez on Friday evening, January 22, and my
co-counsel, Mr. Schulman, is attempting to schedule a meeting with the defendant for early next
week, in the hope that the lockdown will have ended, to review the proposed response to the
Government's motion with him. Accordingly, it is respectfully requested that the Court extend the
date by which the defense response to the Government's motion in limine is due to January 27,
2021. Hopefully, by that date, counsel will have had sufficient time to consult with the defendant
about the issues raised by the Government's motion and will be able to submit a response that
properly reflects the defendant's input. The parties understand that granting such an extension will
likely result in adjourning the fmal pretrial conference currently scheduled for January 27.


               I have discussed this request with AUSA Laroche who advised that the
Government has no objection to the requested extension.

               Thank you in advance for your consideration of this request.




cc: All counsel of record (by ECF)
